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Denise L. Brooks ee . HATTEN, ac

c/o 5465 Highway 42

Suite 123

Ellenwood, Georgia Near 30294
GEORGIA STATE
denisebrooks@hotmail.com
404-399-459]

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Be

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Denise L. Brooks i :16-Cy-4287

VS. Case No. :
CLAIMS FOR DAMAGES

NAVIENT, JACK REMONDI, ECMC, DAVID HAWN, AES , PHEAA,
MINDY FOU CHONG, C. DORAN VANCE, JAMES L. PRESTON,USA

FUNDS, WILLIAM HANSEN.
EQUIFAX, RICHARD SMITH, JOHN GAMBLE, EXPERIAN, DON
ROBERT, TRANSUNION JAMES M. PECK, SAMUEL A. HAMOOD,

And JOHN DOE 1-50
Defendants

FCRA/FDCPA/INVASION OF PRIVACY DISTRICT COURT
CLAIMS

COMES NOW, the Plaintiff DENISE LAQUA BROOKS
complaining of the defendant(s) and each of them as follows;
1. This action is an action brought by the Plaintiff for violation of the
Fair Credit Reporting Act, 15 U.S.C. §1681, Fair Debt Collection

Practices Act, 15 U.S.C. §1692, and The Gramm Leach Bliley Act.

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I THE PARTIES

2. Plaintiff DENISE LAQUA BROOKS is now and at all times
relevant to this action a “consumer” as that term is defined within 15
U.S.C.§1692a(3).

3. Defendant(s) NAVIENT, JACK REMONDI, ECMC, DAVID
HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU CHONG, C.
DORAN VANCE, USA FUNDS, WILLIAM HANSEN.et. al. (“DEBT
COLLECTORS?” under the term defined by 15U.S.C. §1692a(6))
Defendants ECMC, DAVID HAWN, AES, PHEAA, JAMES PRESTON,
MINDY FOU CHONG, C. DORAN VANCE, USA FUNDS, WILLIAM
HANSEN, are “DEBT COLLECTORS?” as that term is defined by 15
U.S.C. §1692a(6).

i. JURISDICTION AND VENUE

4. The U.S. District Court Northern District of Georgia has
jurisdiction pursuant to 15 U.S.C. §1692 et.al, and the court has jurisdiction
over Plaintiffs tort claims. Venue is proper as the occurrences which give
rise to this action took place in the state of Georgia. Therefore venue is
proper in the U.S. District Court Northern District of Georgia.

Il. FACTUAL ALLEGATIONS

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5. Plaintiff brings this action regarding defendant(s) and each of them
continued attempts to collect an alleged debt defendants claim is owed them.
However Plaintiff is without knowledge of the alleged debt defendants
purport to claim is owed to them (NAVIENT, JACK REMONDI,ECMC,
DAVID HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU
CHONG, C. DORAN VANCE, USA FUNDS, WILLIAM HANSEN,et. al).
According to the FDCPA because they are DEBT COLLECTORS and under
the Federal Umbrella claims can be brought to any United States District
Court. §813 Civil liability] S USC§1692k(2)(d).

6. A Notice of validation of Debt pursuant to 15 U.S.C. $1692,

FDCPA , was sent to all of the Defendants they did not respond with
certified loan level documentation validation and verification. The notice
required the Defendants (NAVIENT, JACK REMONDI, ECMC, DAVID
HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU CHONG, C.
DORAN VANCE, USA FUNDS, WILLIAM HANSEN,et. al.) to
validate/verify their alleged debt pursuant to 15U.S.C. § 1692g. It was never
sent. Some of them even told the Consumer they bought the alleged debt
and she now owes them. Which is a valid representation or implication that
nonpayment of any debt will result in the arrest or imprisonment of any

person or the seizure, garnishment, attachment, or sale of any property or

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wages of any person unless such action is lawful and the debt collector or
creditor intends to take such action. This is a violation of the Fair Debt
Collection Practices Act FDCPA §807,

15U.S.C.§ 1692e(1),(2)(A),(4),(8),C12), (13), (14).

7. On or about August Plaintiff obtained her consumer credit report
from the three (3) major reporting credit bureaus Equifax, Experian, and
Transunion. Plaintiff discovered defendants were reporting on her
consumer credit report which she disputed with all three credit reporting
agencies pursuant to 15 USC§1681, the FCRA. On or about August,
September, and October 2016 the three major credit reporting agencies after
conducting an investigation with the credit furnishers (defendants
NAVIENT, JACK REMONDI, ECMC, DAVID HAWN, AES, PHEAA,
JAMES PRESTON, MINDY FOU CHONG, C. DORAN VANCE, USA
FUNDS, WILLIAM HANSEN .,et. al.) stated that the alleged debt was valid,
and determined to be the Plaintiff's debt.

8. Plaintiff has suffered significant economic harm as a result of the
erroneous credit reporting by each of the defendants(s).

9. The above-detailed conduct by each of the Defendants has more to
do with their deceptive and illegal acts in their attempt to collect the alleged

debt, as opposed to any determined legitimacy of their alleged debt. The

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FDCPA, FCRA and OCGA 10-1-390 relates to the defendants even if they
were collecting a legitimate debt. Plaintiff asserts for the record neither
defendants are creditors, Lenders, neither did either defendant provide any
credit to Plaintiff. Notwithstanding each of the defendants are “DEBT
COLLECTORS?” pursuant to 15U.S.C. §1692a(6). Plaintiffs allege the
FDCPA states in part;

The term “DEBT COLLECTOR?” means any person who uses any
instrumentality of interstate commerce or the mails in any business the
principal purpose of which is the collection of any debts, or who regularly
collects or attempts to collect, directly or indirectly, debts owed or due or
asserted to be owed or due another. Notwithstanding the exclusion provided
by clause (F) of the last sentence of this paragraph, the term includes any
creditor who, in the process of collecting his own debts, uses any name other
than his own which would indicate that a third person is collecting or
attempting to collect such debts. For the purpose of section 808(6), such
term also includes any person who uses any instrumentality of interstate
commerce or the mails in any business the principal purpose of which is the
enforcement of security interests.

10. Plaintiff therefore seeks damages as a result of defendant’s acts.

IV. FIRST CAUSE OF ACTION
VIOLATION OF 15U.S.C. §1681i FAIR CREDIT REPORTING ACT
(DEFENDANT)

11 Paragraphs 1-10 are re-alleged as though fully set out herein.
12. Plaintiffs are “CONSUMERS” within the meaning of the FCRA, 15

U.S.C. §1692a(c).

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13. Defendants (““NAVIENT, JACK REMONDI, ECMC, DAVID
HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU CHONG, C.
DORAN VANCE, USA FUNDS, WILLIAM HANSEN,et. al.) are
“credit furnishers” within the meaning of the 15 U.S.C. §1681s-2(a)
prohibits furnishers from reporting inaccurate or erroneous information
about consumers. As such, it placed an affirmative duty on furnishers to
correct and update information which they know, or reasonably should
know, is inaccurate. The subsection requires furnishers to flag or otherwise
provide notice to credit reporting agencies of any “dispute” by a consumer
related to his or her credit information or history, FCRA, 15 USC §1681s-
2(a)(1)-(3). Plaintiffs consumer credit report is a consumer report within the
meaning of 15 U.S.C. §1681a (d).

14. The FCRA, 15 U.S.C.1681s-2(b) has Obligations regarding credit
furnishers to investigate consumer’s disputes. Subsection 1681s-2(b)
specifies a second set of obligations on a furnisher. These obligations are
triggered once a credit reporting agency (CRA) notifies the furnisher that it
has received a “notice of dispute” from the consumer pursuant to 15
U.S.C.§1681s-2(a)(2). After the disputes are received by a CRA from a
consumer, it, in turn is required under §1681i of the FCRA to forward a

consumer dispute verification (CDV) form to the furnisher, requiring it to

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verify the credit information and investigate its accuracy. After receiving
notice of such a dispute from a CRA, a furnisher has 5 mandatory duties it

must perform within 30 days:

(1) to conduct “an investigation” with respect to the disputed
information;

(2) to “review all relevant information” provided by the credit
reporting agency;

(3) to “report the results of its investigation” back to the credit
reporting agency;

(4) if the investigation finds the existing information is incomplete or
inaccurate, to report back those results to each of the consumer
reporting agencies to whom the furnisher originally communicated
information about the consumer; and

(5) to “modify,...delete...or... permanently block ” the reporting of
any item of information found to be inaccurate, incomplete, or which

cannot be verified as accurate after a reinvestigation. 15 U.S.C.
§1681s-2(b)(1).

15. In §1681s-2(b) duties arise only after a furnisher receives notice of
dispute from a CRA. Notice of a dispute to a furnisher by a consumer
directly does not trigger a furnisher’s duty to reinvestigate under § 1681s-
2(b). The consumer must dispute to a CRA, which, in turn, forwards the
dispute to the furnisher. This indirect “filtering” mechanism must be
followed by a consumer to give rise to a duty of investigation under the
FCRA to the furnisher. A furnisher need not honor a dispute received
directly from the consumer, whether oral or written, under the FCRA. Such a
dispute, it should be noted, likely does create a legal obligation under

§1692g of the FDCPA which Plaintiffs served upon defendant “

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(NAVIENT, JACK REMONDI, ECMC, DAVID HAWN, AES, PHEAA,
JAMES PRESTON, MINDY FOU CHONG, C. DORAN VANCE, USA

FUNDS, WILLIAM HANSEN,et. al.)

V. | SECOND CAUSE OF ACTION INVASION OF PRIVACY
(DEFENDANTS)

16. Paragraphs 1-15 are re-alleged as though fully set out herein

17. Defendants “ ( NAVIENT, JACK REMONDI, ECMC, DAVID
HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU CHONG, C.
DORAN VANCE, USA FUNDS, WILLIAM HANSEN ,et. al.), are “DEBT
COLLECTORS” and are strangers to the Plaintiff. Plaintiff has no
contractual relationship with defendants, (NAVIENT, JACK REMONDI,
ECMC, DAVID HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU
CHONG, C. DORAN VANCE, USA FUNDS, WILLIAM HANSEN,et. al.),
and has never applied for credit or services with the defendants.

18. On or about November 2016 defendants (ECMC, DAVID
HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU CHONG, C.
DORAN VANCE, USA FUNDS, WILLIAM HANSEN, ) illegally obtained
Plaintiffs consumer credit report(s). Defendants, (NAVIENT, JACK
REMONDI, ECMC, DAVID HAWN, AES, PHEAA, JAMES PRESTON,
MINDY FOU CHONG, C. DORAN VANCE, USA FUNDS, WILLIAM

HANSEN, et. al.) are not the Consumers creditors, therefore the illegal

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obtaining of Plaintiffs consumer credit reports constitutes a Tort claim for
Invasion of Privacy. This is a Gramm Leach Bliley Act violation non public
private information can’t be shared with an open forum, which it has been.

19. Plaintiffs right to privacy are also an enumerated Constitutional
right, both in the State and Federal Constitution. Plaintiff has been damaged
in that their proprietary, confidential, most personal information was
unlawfully and illegally breached by defendants

20. Therefore Plaintiffs is entitled to punitive, consequential, actual

and special damages, and any other such damages the court deems

necessary*.
Vi. THIRD CAUSE OF ACTION
VIOLATION OF 15 USC1692, FAIR DEBT COLLECTION
PRACTICES ACT
(ALL DEFENDANTS)

21. Paragraphs 1-20 are re-alleged as though fully set out herein.

22. All paragraphs of this Complaint are expressly adopted and
incorporated herein as if fully set forth herein.

23. Plaintiffs are “CONSUMERS” as defined in 15SUSC8§1692a(3).
Therefore Plaintiffs is entitled to punitive, consequential, actual and special

damages, and any other such damages the court deems necessary.

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24. Paragraphs 1-23 are re-alleged as though fully set out herein.

25. Defendants violated the FDCPA, and caused damages to Plaintiff
by their failure to comply with the Act. Defendant’s violations include, but
are not limited to the following;

a. Defendant violated §1692 (d) of the FDCPA by engaging in

conduct the natural consequences of which is to harass, oppress, or

abuse any person in connection with the collection of an alleged debt
and;

b. Defendant(s) violated §1692(j) of the FDCPA by using unfair or

unconscionable means in connection with the collection of an alleged

debt;

c. Using unfair or unconscionable means to collect or attempt to

collect a debt, in violation of 1SUSC§1692(f);

d. Defendant(s) violated the 15USC§1692(e)(8) required DEBT

COLLECTORS to communicate the disputed status of a debt if the

debt collector knows or should know that the debt is disputed,

standard requires no notification by the consumer, written or oral, and
instead, depends solely on the debt collector’s knowledge that a debt

is disputed, regardless of how or when that knowledge is “acquired.”

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26. Defendants were fully aware that each of them were/are unable to
provide a performance contract, or account stated executed by Plaintiff,
whereby PlaintiffS are obligated to defendants.

27. Defendants ignored the Plaintiff telling them that the DEBT is
satisfied with, an EFT, and General Services Bonds sent to the United States
Treasury to be Discharged and never reissued again. (“see Exhibit ”) and is

28. Therefore defendants (( NAVIENT, JACK REMONDI, ECMC,
DAVID HAWN, AES, PHEAA, JAMES PRESTON, MINDY FOU
CHONG, C. DORAN VANCE, USA FUNDS, WILLIAM HANSEN. et. al.)
are liable to Plaintiffs for damages loss of sleep, emotional and mental
stress, insomnia, embarrassment, anxiety, and The Consumer woman needs
rest and related damages due to defendant’s acts of unbridled enthusiasm for
the consumer.

29. A bid bond was tendered to SALLIE MAE (see attached) for the
credit that is supposed to represent commercial instrument for payment of
any and all Debts per the United States Supreme Court. This Security was
also put on the Consumer/woman’s UCC-3 to make sure everybody knew
what happened with these student loans, and no one would come back to her
and state she owed them for the DEBT. She is the Secured Party Creditor for

her Estate per the State of Georgia’s UCC filings.

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30. Full faith and Credit of the United States of America is with the
Woman who obtained her personal family and household goods and not
CORPORATIONS who are collecting for Business, Commerce, and Trade.
These Consumer protection laws must be adhered to and followed to the
letter. The Consumer Financial Protection Bureau states that the Consumer
must be told the truth and treated fairly. She has not been treated like a
Natural Person who does hold the Agriculture at her fingertips. The
Consumer wants to be compensated $75,000.00 from each of the entities
who claim she owes them money she has tried to work with them but they
continue to harass and oppress her and also to use profane and obscene
language stating she owes them anything.

31. The Consumer does want attorney’s fees as a result of the

disregard for her injuries and they should be $10,000.00.

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EDUCATIONAL CREDIT MANAGEMENT CORPORATION

C/O DAVID HAWN
1 Imation Place Building 2
Oakdale, MN 55128

AES/PHEAA

JAMES PRESTON
MINDY FOU CHONG
C. DORAN VANCE

USA FUNDS

WILLIAM HANSEN

9998 Crosspoint Boulevard
Suite 400

Indianapolis, IN 46256

NAVIENT

JACK REMONDI

300 Continental Drive
Newark, Delaware 19713

EXPERIAN

475 Anton Blvd.

Costa Mesa, CA 92626
C/O Don Robert

EQUIFAX

550 Peachtree Street, N.W.
Atlanta, GA 30309

C/O Richard F. Smith

TRANSUNION

555 W. Adams Street
FL 2-9

Chicago,IL 60661
C/O James M. Peck

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CERTIFICATE OF SERVICE

I, Denise L. Brooks, being the plaintiff herein named, hereby certify that on the , day
of 2016, I timely served one copy of correspondence for DEBT
COLLECTOR(s), address mailed with correct postage affixed First Class Mail from a
U.S. Postal Service mail drop:

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AFFIDAVIT OF NOTARY PRESENTMENT

On (October 18, 2012) (Brooks-Laqua Denise) appeared before me
with the following documents listed below. |, the below signed notary,
personally verified that these documents were placed in an envelope
and sealed by me. They were sent by United States Fost Office °°
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(INSTRUMENT NUMBER 804 IN THE AMOUNTOF $87689.54

BILL FROM DEPT. OF EDUCATION SALLIE MAE, AND NOTARY

 

 

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AFFIDAVIT OF NOTARY PRESENTMENT

On (October 18, 2012) (Brooks-Laqua Denise) appeared before me
with the following documents listed below. |, the below signed notary,
personally verified that these documents were placed in an envelope

and sealed by me. They Lnere sent by United States Post Oitice
Registered Mail receiptnumber{ > °° 666,28 § Box 530267)
30253-9267

At lanta. GA tise of Documents:

(INSTRUMENT NUMBER 806 IN THE AMOUNTOF $68853.82

BILL FROM SALLIE MAE, AND NOTARY PRESENTMENT)

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Notary Print Name Notary Signature

 

 

 

 

 

   

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Ellenwood, GA 30294

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15 May 2014

GSA Office of the Administrator
Mr. Daniel M. Tangherlini

1800 F Street N.W.

Washington, D.C. 20405

Denise L. Brooks
715 Habersham Court
Ellenwood, Georgia 30294

RE: GSA BONDS

Dear Mr. Tangherlini:

| am Denise L. Brooks, and I have enclosed for your approval two debts that I would like to be
canceled and retired and not reissued, along with GSA bonds. I have included two gifts for the
government to be used to reduce the public debt. Attached you will find Redeem for lawful
money to further reduce the public debt. Thanks so much for your consideration.

Sincerely,

Denise L. Brooks

P.S. Certificate of Live Birth Number 10955079635 State of Florida is enclosed
Attachments

Cc: IRS

STATE HOME MORTGAGE/GEORGIA HOUSING AND FINANCE AUTHORITY/AMERICA HOME KEY

SHERIFF MCBRAYER
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AFFIDAVIT OF INDIVIDUAL SURETY OMB Number: 9000-0001
(See instructions on reverse) Expiration Date: 11/30/2014
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|, the undersigned, being duly swam, depose and say thet | arc: (1) the surely to the attached bond(s); (2) a Glizen of the United Stsles; and of full age and

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provisions of Secton 5 of the Secisiies Act of 1833. recognize that stelements contained herein concern a matter

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within the juriedicton of an agency of the Uniied Steies and the making of » fsiee, ficious or fraudulent statement may render the maker subject to prosecution
under Tite 18, Uniied States Code Sections 1001 and 44. This allidavit is mecie to induce the Uniled States of America ip accept me as surety on the

 

attached bond.
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8. IDENTIFY ALL MORTGAGES, LIENS, JUDGEMENTS, OR ANY OTHER ENCUMBRANCES INVOLVING SUBJECT ASSETS INCLUDING REAL ESTATE TAXES DUE AND

PAYABLE.

 

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EXECUTION OF THIS AFFIDAVIT.

ASSETS HAVE BEEN PLEDGED IMTHIN 5 YEARS PRIOR TO THE DATE OF

 

DOCUMENTATION OF THE PLEDGED ASSET MUST BE ATTACHED.

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on the date stated above. 18d. DATE SIGNED
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f 49. DATE ,REC' BY LOCAL | 21. DATE ON WHICH GIVEN NAME ADDED
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So 2 Leben | Gagistrar)
LAL TY
, State Registrar Date Issued: January 17, 2014

    
 

THE ABOVE SIGNATURE CERTIFIES THAT THIS ISA TRUE AND CORRECT COPY OF THE OFFICIAL RECORD ON FILE IN THIS OFFICE
THIS DOCUMENT IS PRINTED OF PHOTOCOPIED ON SECURITY PAPER WITH WATERMARKS OF THE GREAT
WARNING: SEAL OF THE STATE OF FLORIDA. DO NOT ACCEPT WITHOUT VERIFYING THE PRESENCE OF THE WATER-
MARKS. THE DOCUMENT FACE CONTAINS A MULTICOLORED BACKGROUND. GOLD EMBOSSED SEAL AND
THERMOCHROMIC FL THE BACK CONTAINS SPECIAL LINES WITH TEXT. THE DOCUMENT WALL NOT PRODUCE

A COLOR COPY.

- CERTIFICATION OF VITAL pisces i =

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Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 24 of 52

 

DATE BOND EXECUTED (Must not be later than bid
BID BOND aa (Must not de sterthen Di To¥aB Number: 9000-0045

( See instructions on reverse) 01/15/2003 Expiration Date: 6/30/2016

 

 

 

Public reporting burden for this collection of information is estimated to average 25 minutes per response, including the time for reviewing instructions, searching existing data
sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. Send comments regarding this burden estimate or any other
aspects of this collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington, DC

20405.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRINCIPAL (Legal name and business address) TYPE OF ORGANIZATION (OC ane)
BROOKS, DENISE LAQUA INDIVIDUAL [_] PARTNERSHIP
205 N.W. 6TH AVENUE esanan
POMPANO BEACH, FLORIDA 33060 {_| Josie vernon U
STATE OF INCORPORATION
10955079635 (Florida)
SURETY (IES) (Name and business address)
BROOKS, DENISE LAQUA
DEPOSITORY TRUST COMPANY
55 WATER STREET
NEW YORK, NEW YORK 10041
PENAL SUM OF BOND BID IDENTIFICATION
PERCENT AMOUNT NOT TO EXCEED BID DATE INVITATION NO.
Cece. | MILLION (S) | THOUSAND(S) | HUNDREDS) | CENTS
FOR (Construction,
100 ee sh ‘Sarvacoe) 9778617254-1
OBLIGATION

We, the Principal and Surety (ies) are firmly bound to the United States of America (hereinafter call the Government) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the
sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum "jointly and severally" as well as “severally” only for the
purpose of allowing a joint acton or actions against any or all of us. For all other purposes, each Surety binds itself, jointly and severally with the
Principal, e the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the limit or liability is the full ammount
of the penal sum.

CONDITIONS:
The principal has submitted the bid identified above.
THEREFORE.

The above obligation is void if the Principal - (a) upon acceptance by the Govemment of the bid identified above, within the period specified therein for

acceptance (sixty (60) days if no period is specified), executes the further contractual documents and grves the bond(s) required by the terms of the

bid as accepted within the time specified (ten (10 days if no period is specified) after receipt of the forms by the principal; or (b) in the event of failure
to executes such further contractual documents and give such bonds, pays the Government for any cost of procuring the work which exceeds the
amount of the bid.

Each surety executing this instrument agrees that its obligations is not impaired by any extension(s) of the time for acceptance of the bid that the
principal may grand to the Goverment. Notice to the surety (ies) of extensions (5) are waived. However, waiver of the notice applies only to extensions
aggregating not more than sixty (60) calendar days in addition to the periods originally allowed for acceptance of the bid.

WITNESS
The principal and Surety (jes) executed thes bid bond and affixed their seals on the above date.
PRINCIPAL

 

SIGNATURE(S)
(Seal) (Seal)| | Corporate
3. Seal

 

 

NAME(S) &
TITLE(S)
(Typed)

 

 

      
 

 

 

“ANDIVIDUAL SURETY(IES) 7
: 2 |

 

=

 

SIGNATURE(S)

NAME(S) —*«4d 4. 7
(Typed) NIKISHA LAQUA BROOKS ‘\easle
CORPORATE SURETYTIES)

NAME & STATE OF INC. LIABILITY LIMIT ($)
ADDRESS

  

 

 

 

 

 

Corporate
Seal

—
id

SIGNATURE(S)

 

SURETYA
N

NAME(S) &
TITLE(S)
(Typed)

AUTHORIZED FOR LOCAL REPRODUCTION STANDARD FORM 24 (REV. 10/1998)

Pervious edition is usable Prescribed by GSA - FAR (48 CFR) 53.228(a)

 

 

 

 

 
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 25 of 52

 

BOND EXECUTED (Must be same than date of
PERFORMANCE BOND ne ner OMB Number. 9000-0045
(See instructions on reverse) 01/15/2003 Expiration Date: 6/30/2016

 

 

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sources, gathering and maintaining the data needed, and completing and reviewing the collection of informabon. Send comments regarding this burden estimate or any other
aspect of this collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington,
DC 20405

 

 

 

 

 

 

 

 

 

PRINCIPAL (Legal name and business address) TYPE OF ORGANIZATION ("X" one)
BROOKS, DENISE LAQUA
715 HABERSHAM COURT [x] NoniDUAL [[] PARTNERSHIP
ELLENWOOD, GEORGIA 30294 [oo1nr venture [corporation
STATE OF INCORPORATION
410955079635 (Florida)
SURETY(IES) (Name(s) and business address(es) PENAL SUM OF BOND
BROOKS, DENISE LAQUA MILLION(S) THOUSANDS HUNDRED(S) | CENTS
DEPOSITORY TRUST COMPANY
55 WATER STREET CONTRACT DATE CONTRACT NO
NEW YORK, NEW YORK 10041
01/15/2003 9778617254-1
OBLIGATION

 

 

We, the Principal and Surety (ies), are firmly bound to the Unites States of America (hereinafter called the Goverment) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, admmmistrators, and successors, jointly and severally. However, where the

Sureties are corporations acting as co-sureties, bind ourselves in such sum "jointly and severally" as well as “severally” only for the
purpose of allowing a joint action against any or all of us. for all other purposes, each Surety binds itself, jointly and severally with the
Principal, for the payment of the sum shown opposite the name of the Surety. ff no limit of liability is indicated, the limit of liability is the full amount
of the penal sum.

CONDITIONS

The Principal has entered into the contract identified above.
THEREFORE

The above obligation is void if the Principal-

(a)(1) Performs and fulfills all the undertaking, covenants, terms, conditions, and agreements of the contract dunng the onginal term of the
contract and any extensions thereof that are granted by the Government, with or without notice of the Surety(ies) and during the life of any guaranty
required under the contract, and (2?) performs and fulfils all the undertakings, covenants, terms conditions, and agreements of any and all duly
authorized modifications of the contract thal hereafter are made. Notice of those modifications to the Surety(ies) are waived.

(b) Pays to the Goverment the full amount of the taxes imposed by the Goverment, if the said contracts is subject to the Miler Act. (40 U.S.C.

270a-270e), which are collected, deducted, or withheld from wages paid by the Prncipal in carrying out the construction contract with respect to
which this bond is furnished.

 

 

   
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WITNESS
The Principal and Surety(ies) executed this performance bond and affixed their seals on the above date.
‘ PRINCIPAL
- Ka
SIGNATURE(S) om
7. ¥ — 5 = Corporate
ree Denise Laqua King Broo Seal
(Typed) Surety
—
NAME(S} Oe
(Typed) Nikisha Laqua Brooks
NAME & STATE OF INC. LIABILITY LIMIT (S)
< | ADDRESS
c 1 z Corporate
Ww SIGNATURE(S) Seal
2 NAME(S)& | 1 2:
TITLE(S
(Typed)
AUTHORIZED FOR LOCAL REPRODUCTION STANDARD FORM 25 (REV. 5/1996)
Previous edition not usable

Prescribed by GSA-FAR (48 CFR) 53.228 (b)
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 26 of 52

 

PAYMENT BOND RE ee ene cone or ier Renee | Oias Number 9000-0045

 

 

 

Public reporting burden for this collection of information is estimate to average 25 minutes per response, including the time for reviewing instructions, searching existing data sources,
gathering and maintaining the data needed, and completing and reviewing the cofiection of information. Send comments regarding this burden estimate or any other aspect of this
collection of information, including suggestions for reducing this burdan. to tha FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington. OC 20405

 

 

 

PRINCIPAL (Legal name and business address) TYPE OF ORGANIZATION (2 one)
BROOKS, DENISE LAQUA
205 N.W. 6TH AVENUE ada Ll SAEraITE
POMPANO BEACH, FLORIDA 33060 (-] sont VENTURE (_] corPORATION
STATE OF INCORPORATION
10955079635 (Florida)
SURETY (IES) (Name(s) and business address(es) PENAL SUM OF BOND

BROOKS, DENISE LAQUA
DEPOSITORY TRUST COMPANY

 

MILLION(S) | THOUSAND(S) | HUNDRED{S) | CENTS

 

 

 

 

 

 

 

55 WATER STREET

NEW YORK, NEW YORK 10041 CONTRACT DATE CONTRACT NO.
01/15/2003 9778617254-1

OBLIGATION:

We, the Principal and Surety(ies), are firmly bound to the United States of America (hereinafter called the Government) in the above penal
sum. for payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However,
where the Sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum "jointly and severally" as well as
“severally” only for the purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself.

jointly and severally with the Principal, for the payment of the sum shown opposite the name of the Surety. If no limit is indicated, the limit of
liability is the full amount of the penal sum.

CONDITIONS:

The above obligation is void if the Principal promptly makes payment to all persons having a direct relationship with the Principal or a
subcontractor of the Principal for furnishing labor, material or both in the prosecution of the work provided for in the contract identified above,
and any authorized modifications of the contract that subsequently are made. Notice of those modifications to the Surety(ies) are waived.

WITNESS:

The Principal and Surety(ies) executed this payment bond and affixed their seals on the above date.

 

 

   
 
  

 

 

 

  
 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRINCIPAL
iy 3.
SIGNATURE(S) Rui Mger /
(Seal (Seal) Corporate
NAME(S) & 1. Denise Laqua Brooks As 3. Seal
TITLE(S) Surety
(Typed) .
7 INDIVIDUAL SURETY (IEST )
SIGNATURE(S) AW, Bey, Te
NAME(S) 1. Nikisha Laqua Brooks
(Typed) “=
CORPORATE SURETY!
NAME & LIAB

| ADDRESS $
z + 2 Corporate

SIGNATUR
fe a Seal
—| NAME(S)& |4 2
®)  TmLE(s)

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AUTHORIZED FOR LOCAL REPRODUCTION STANDARD FORM 25A (REV. 10/1998)
Previaus edition is usable

Prescribed by GSA-FAR (48 CFR) 53.2228(c)
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 27 of 52

RELEASE OF PERSONAL PROPERTY FROM ESCROW

Whereas DENISE LAQUA BROOKS _ Of 10955079635 (Florida) , by a bond

(Name) (Place of Residence)
for the performance of U.S. Government Contract Number

became a surety for the complete and successful performance of said contract, and Whereas said
surety has placed certain personal property in escrow

in Account Number 9778617254 on deposit

at SALLIE MAE/DEPARTMENT OF EDUCATION
(Name of Financial Institution)

located at PO BOX 9500 WILKES-BARRE, PENNSYLVANIA 18773 _ and
(Address of Financial Institution)

Whereas |, Denise Laqua: Family of Brooks , being a duly authorized

representative of the United States government as a warranted contracting officer, have determined

that retention in escrow of the following property is no longer required to ensure further performance
of the said Government contract or satisfaction of claims arising therefrom:

See STANDARD FORM 24 BID BOND (see attached)

See STANDARD FORM 25 PERFORMANCE BOND (see attached)

See STANDARD FORM 25A PAYMENT BOND (see attached)

See STANDARD FORM 28 AFFIDAVIT OF INDIVIDUAL SURETY (see attached)

See OPTIONAL FORM $0 RELEASE OF LIEN ON REAL PROPERTY (see attached)
and

Whereas the surety remains liable to the United States Government for the continued performance of
the said Government contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases from escrow the
property listed above, and directs the custodian of the aforementioned escrow account to deliver the
listed property to the surety. If the listed property comprises the whole of the property placed in
escrow in the aforementioned escrow account, the Government further directs the custodian to close
the account and to return all property therein to the surety, along with any interest accruing which
remains after the deduction of any fees lawfully owed to

SALLIE MAE/DEPARTMENT OF EDUCATION
(Name of Financial Institution)

thay 15, Oly flere Kogee tithes

[Date] [Signature]

  

RM 91 (1-00)

AUTHORIZED FOR LOCAL REPRODUCTION gPoytsSA-FAR (48 CFR) 53.228(0)
—

Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 28 of 52

RELEASE OF LIEN ON REAL PROPERTY

Whereas DENISE LAQUA KING BROOKS _ of 10955079635 (Florida) , by a bond
(Name) (Place of Residence)

for the performance of U.S. Government Contract Number Se... ,

became a surety for the complete and successful performance of said contract, which bond includes a lien
upon certain real property further described hereafter, and

Whereas said surety established the said lien upon the following property

See STANDARD FORM 24 BID BOND (see attached)

See STANDARD FORM 25 PERFORMANCE BOND (see attached)

See STANDARD FORM 25A PAYMENT BOND (see attached)

See STANDARD FORM 28 AFFIDAVIT OF INDIVIDUAL SURETY (see attached)

See OPTIONAL FORM 91 RELEASE OF PERSONAL PROPERTY FROM ESCROW (see attached)

 

 

and recorded this pledge on 9775617254 -)}
(Name of Land Records)
in the HENRY COUNTY of GEORGIA
(Locality) (State)
and
Whereas, |, Denise Laqua: Family of Brooks , being a duly

 

authorized representative of the United States Govemment as a warranted contracting officer, have

determined that the lien is no longer required to ensure further performance of the said Government
contract or satisfaction of claims arising therefrom,

and

Whereas the surety remains liable to the United States Goverment for continued performance
of the said Government contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases the aforementioned lien.

Ay |S, 20/4 obiun Kage. buitls—

(Date] [Signature]

   

AUTHORIZED FOR LOCAL REPRODUCTION RRS TIONAL FORM 90 (REV. 1-00)

ed by GSA-FAR (48 CFR) 53.228 (n)
 

 

Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 29 of 52

 

 

 

 

 

 

 

 

 

 

 

 

[|] VOID [| CORRECTED
LENDER'S name, street address, city or town, province or state, country, ZIP or| OMB No. 1545-0877
foreign postal code, ard telaphane no. Acquisition or
FE bse 20413 | Abandonment of
Secured Property
Form 1099-A
Se 1 Date of lender's acquisition or | 2 Balance of principal Copy C
LENDER'S federal identification number | BORROWER'S identification number orowiedge of abandonment Sa For Lender
i “|S i2°

BORROWER'S name 3 4 Fair market value of property
For Privacy Act
. ; and Paperwork
$ rs ie Reduction Act
Street address (includi no. 5 Check here if the borrower was personally liable for Notice, see the
ER EAC repaymentofthedebt . . . . . . . .eL] ' 2013 General
: ‘ nstructions for
City or town, province or state, country. and ZIP or foreign postal code 6 Description of property s Certain
. : F - ' Information
; . Returns.

Account number (see instructions)

 

 

Forn 1099-A

werw.irs.gevAorm 10994

Department of the Treasury -

imemal Revenue Service

 

 

 
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 30 of 52

Exh bit 8

Debt Collectors
Correa Spondence
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 31 of 52

AES
POBOX 61017
HARRISBURG, PA 17106

[ noticed that you have tapped into my credit report and pursuant to the Fair Debt Collection
Practices Act (FDCPA) 15 USC§1692c you do not have the authority to even contact me about
some purported/alleged debt. I do not recognize you being a Creditor of mine. I have not
obtained verification, nor validation that we have a contract signed by myself and you binding
me to even acknowledge you as a Creditor. I have explained to you on more than one occasion
that you can’t report derogatory information into my credit reports erroneously just because you
say you purchased something that you think is of value pursuant to 1SUSC§1692e(12) the false
representation or implication that accounts have been turned over to innocent purchasers for
value. You better take this information out of my files immediately before you are have to pay
the Consumer monetary damages. Your CORPORATION doesn’t even have a license to do
business in Georgia, pursuant to the Secretary of State. I will let the Comptroller of the Currency
know about these unauthorized DEBT COLLECTION PRACTICES.

You did not obtain my permission or have you obtained permission from a Court of Competent
Jurisdiction, which is the United States District Court, pursuant to 15USC§1692k(2)(d), to put
this derogatory information in the Consumers Credit Report. You need to keep your nose
out of private business, and mind your own, you all sound like you suffer from Mental illness
and need to get checked for this very deadly disease.

I am the Consumer pursuant to 1SUSC§1692a(3), and you are the DEBT COLLECTOR pursuant
to 1SUSC§1692a(6), this was not under a Contract for Business, Commerce, and Trade, but
because you do not know the difference that is why you try to invade my privacy, and put my
information on the Credit Bureaus websites and this is another violation which can be construed
as Aggravated Identity Theft 18 USC §1028A Section (8) section 523 of the Gramm-
Leach-Bliley Act (15 U.S.C. 6823) (relating to obtaining customer information by false
pretenses) This is a Felony and I will hold C. Doran Vance the man responsible for
releasing/leaking out this erroneous information and putting it onto my Credit Reports without
my Authority.

Your mental health has to be evaluated if you think for one moment that | owe PHEAA a dime. I
did not sign a contract with your CORPORATION and I do not owe anything. The Consumer
has the full faith and Credit of the United States. You better get all of the proof of discharge
from SALLIE MAE, they are deceiving you thinking that I owe anything on this alleged DEBT.
Just like Mr. Richard Cordray states the Consumer has the right to be treated fairly and to be told
the truth. You are not telling the truth, | am going to give you 3 days to take this erroneous
information off of my Credit Reports. Also send the Consumer $15,000.00. Or we will go
immediately to the United States Supreme Court, to get my money you owe me for putting this
information on my Credit Reports.

Consumer Denise L. Brooks
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 32 of 52

CERTIFICATE OF SERVICE

This is to certify that I have this date served the foregoing Notice for the following

Correspondence by placing a true and exact copy of same in the United States mail, with

AES

PO BOX 61017
HARRISBURG, PA
17106
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 33 of 52

November 12, 2016

Denise L. Brooks CONSUMER NAME
C/O 5465 Highway 42

Suite 123

Ellenwood, Georgia 30294

AES FORMERLY PHEAA
C/O James L. Preston

200 North 7" Street
Harrisburg, PA 17102

RE: Notice of Pending Lawsuit

Accordingly my records reflect you are not, neither have you ever been a know creditor of mine.
Therefore I am respectfully demanding punitive damages for your blatant disregard for the
Above Consumer. The consumer is expecting payment of $5,000.00. Please send right away.
IDENTITY THEFT is what you have committed, and I do not recall ever providing my private
information to you.

AMERICAN EDUCATION SERVICES, FORMERLY PHEAA.., is a “debt collector pursuant
to 15USC§1692a(6), 15 USC§1681n, and ORC§1345.0. Denise L. Brooks is a “consumer as that
terms is defined in 1SUSC§1692a(3), 15 USC§1681n, and ORC§1345.01(c). AMERICAN
EDUCATION SERVICES, FORMERLY PHEAA, is not my creditor, and I have not applied
for, neither received any services or credit with your particular agency.

You have violated 15USC§1692 ¢, d, e, f, g, and j Pursuant to the Fair Debt Collection Practices
Act (FDCPA). Also you have violated the Gramm Leach Bliley Act, the Unfair Deceptive or
Abusive Acts or Practices (UDAAP), the TCPA among other violations and you need to CEASE
AND DESIST these practices.

In light of the foregoing please provide the alleged original genuine executed agreement that
memorialized the transaction between you and | that support your alleged debt that I have with

you. If you can’t please CEASE AND DESIST COLLECTING ON A ZOMBIE PURPORTED
DEBT.

Regards

Consumer Plaintiff Denise L. Brooks
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 34 of 52

June 5, 2016

Denise L. Brooks CONSUMER NAME
C/O 5465 Highway 42

Suite 123

Ellenwood, Georgia 30294

PHEAA, INC.
1200 N. 7" Street
Harrisburg, PA 17102-1444

RE: Notice of Dispute Demand for Verification/Validation of Alleged Debt

Accordingly my records reflect you are not, neither have you ever been a know creditor of mine.
Therefore I am respectfully demanding verification and or validation of any alleged debt
pursuant to 15 USC§1692g, 1S USC§1681, and ORC§ 1345.01 respectively.

PHEAA is a “debt collector pursuant to 1SUSC§1692a(6), 15 USC§1681n, and ORC§1345.0.
Denise L. Brooks is a “consumer as that terms is defined in 15USC§1692a(3), 15 USC§1681in,
and ORC§1345.01(c). PHEAA is not a creditor, and I have not applied for, neither received
any services or credit with your particular agency. Therefore if your intrusion in my personal
credit file is a willful and negligent violation of 15USC§1681q which would also be a criminal
offense (felony) punishable under Title 18 USC, the penalty being a fine and or two years
imprisonment.

In light of the foregoing please provide the alleged original genuine executed agreement that
memorialized the transaction between you and | that support your alleged debt.

If your debt collection firm is unable to provide a sufficient legal basis for your illegal intrusion
into my credit file, erroneous credit reporting, and dunning letters demanding payment. | will
bring suit against your agency for violation of Federal and State Consumer Protection laws.
Therefore this notice can be construed as a Notice of Intent to bring such action if your response
does not support a legal debt “owed” to your agency. In concluding, you are required to respond
in a timely manner, should you fail to timely respond, and or proffer a non-response | will bring
suit without further notice. Regards

Consumer Denise L. Brooks

Ce:file
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 35 of 52

aes Department of Education
a ; Loan Servicing

Dear Zarit:

Your federal student loan(s) requires your immediate attention. We may have a repayment option
available that allows you to stop making payments for a specific period of time — call us today.

To learn more about our affordable repayment plans, speak to one of our account managers today.
We're here to help you by providing important guidance and information regarding your federal student
loan(s) but your time is limited, call us today at 1-877-830-7668.

oe
Sincerely, € . @ U.S. Department of Education
‘S oe) infor twat abot pour federal fhodent ar
. bs >
Michael Simpson - Navient ome

This is an attempt to collect a debt, and any information obtained will be used for that purpose.

Make sure Navient makes it ta your intoy by adcing CustomerAssistED@Navient.cam as a cantact Instructions on
how to add us can be found here

 

Date: April 28, 2016

ECMC Account #: 2724137
Servicer: NAVIENT

Dear Zarif Rashad Ali:

Educational Credit Management Corporation (ECMC) is a guarantor of your federal student loan. You may hav
received a letter from us regarding the status of your loan. In addition to your student loan servicer, NAVIENT,
we are here to help you.
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 36 of 52

You may have options such as:

¢ Switching to an income-driven repayment plan that could result in monthly payments as low as SO, if

you qualify
e Temporarily postponing monthly payments

Our goal is to assist you and we would like your consent to contact you at your current or future cell phone
number using an automated dialing system. Please confirm your consent here.

If you would like more personalized assistance, contact one of our counselors at 855-202-4687, Monday
through Thursday, 8:00 a.m to 9:00 p.m., Friday 8:00 a.m. to 7:00 p.m., and Saturday 10:00 a.m. to 4:00 p.m.,

Central time, or you may also reply to this email.

ECMC Loan Repayment Counselors

WwWww.ecmc.org
infodyou@ecmc.org
Case 1:16-cv-04287-TWT Document 3 Filed 12/05/16 Page 37 of 52

Debt Collectors Declaration of Fraud

08-31-2015

EDUCATIONAL CREDIT MANAGEMENT CORPORATION
| Imation Place Building 2
Oakdale, MN 55128

Brooks, Denise L

C/O 5465 Highway 42
Suite 123

Ellenwood, Georgia 30294

It ts declared that EDUCATIONAL CREDIT MANAGEMENT CORPORATION is a debt
collector and that I have never contracted with your company and thus I have no financial
obligation to your company. You have purchased a debt from another company and you had no
interest in the original debt making your status that of a merc voluntecr. The right of subrogation
does not arise to one who pays the debt of another as a mere volunteer. This includes attempts at
collection by assignment, transfer, or trade. A volunteer, stranger, or intermeddler is “one who
thrust himself into a situation on his own initiative, and not one who becomes a party to a
transaction upon the urgent petition of a person who is vitally interested, and whose rights would
be sacrificed did he not respond to the importunate appeal.” Laffranchini, 39 Nev, 48, 153 P. at
252. Parties may be considered volunteers if , in making a payment, they have no interest of their
own to protect, the act without any obligation, legal or moral, and they act without being
requested to do so by the person liable on the original obligation. Henningsen v. United States
Fidelity Guar. Co., 208 U.S. 404, 411 (1908); Smith v. State Sav. & Loan Ass'n 175 Cal. App.
3d 1092, 1098, 223 Cal Rptr. 298, 301 (1986); Norfolk & Dedham Fire Ins. Co. v. Aetna
Casualty & Surety Co., 132 Vt. 341, 344, 318 A.2d 659, 661 (1974). Your company
extinguished the alleged debt upon purchase and any attempt to collect or sell the debt is an act
of fraud. Know and understand that contacting me again after receipt of this notice without
providing procedurally proper verification of the debt constitutes that use of interstate
communications in a scheme of fraud by advancing a writing, which you know is false, with
intention that others rely on the written communication to their detriment. You have not
produced the account and general ledger statement showing the full accounting of the alleged
obligation that you are now attempting to collect as demanded by the FDCPA. You have not
provided an account stated of a contract between me and EDUCATIONAL CREDIT
MANAGEMENT CORPORATION or the original creditor, thus trying to defraud me of my
money and are a party to mail fraud. By reporting to credit agencies anything but “debt is
“DELETED” you are committing fraud and are open to lawsuit under the FDCPA. In American
Jurisprudence (2 D P. 584) under Actions it states: “No actions will lie to recover on a claim
based upon or in any manner depending upon a fraudulent, illegal, or immoral transaction or
contract which plaintiff was a party.”
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Failure to provide me with a written letter by your agency/law firm of “non-existence of debt”
within 10 days will result in the actions mentioned below. Failure to purge all derogatory credit
reporting from any credit agencies, including Experian, Equifax, and TransUnion without
validity of the aforementioned debt shall be considered an act of fraud. Please Cease and Desist

Mail Fraud

Racketeering

Illegal extortion of funds
Punitive damages
General damages
Exemplary damages

Inability to obtain fresh credit for filing judgments against my credit bureau and/or such further
& other relief as I deem necessary to seek.

NOTE: Maxim of Law; 1. In Commerce- Truth is sovereign. 2. For a matter to be resolved, it
must be expressed, Point of Law- Silence equates to agreement.

Principle’s Signature
August 31, 2015

Date
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CERTIFICATE OF SERVICE

I, Denise L. Brooks, being the consumer pursuant to 15 USC 1692a(3) herein named, hereby
certify that on the 31st, day of August 2015, I timely served one copy of correspondence for
DEBT COLLECTOR(s), address Emailed to:

ECMC EDUCATIONAL CREDIT MANAGEMENT CORPORATION

Denise L. Brooks
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CRAS correspondence
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10-19-2016
PO BOX 2000
CHESTER, PA 19016

RE: Inaccurate Incomplete Derogatory Reporting [Information

My name is Denise L. Brooks (a Consumer) Pursuant to the Fair Debt Collection Practices Act
FDCPAISUSC§1692a(3) and am asking how you obtain Loan Level Documentation in order to
slander my natural person.

[ am aware of what an Account is Pursuant to the UCC 4-104 means deposit or credit
account with a bank, including a demand, time, savings, passbook, share draft, or like
account, other than an account evidenced by a certificate of deposit.

Why do you continue to put derogatory information on my credit report without my
permission. I do not have validated, and verified loan level documentation, and you insist
on putting this information on my credit report. I did not give you permission pursuant to

The Fair Debt Collection Practices Act FDCPA15USC§1692c, I do not have verified, loan level
documentation pursuant to FDCPAISUSC§1692g(a)(b). You do not have permission from a
Court of Competent Jurisdiction which would be the United States District Court pursuant to the
Fair Debt Collection Practices Act FDCPA15USC§1692k. I do not have any outstanding Student
Loans which were taken off and you continue to put them back on my Credit Report. I do not
know who this CORPORATION is and if it is not taken off in 3 days I will see you in Court.
You continue to just act like I do not exist and for personal family and household purposes, you
know I am not in COMMERCE, BUSINESS, OR TRADE. You are and you do not have the
Authority to put this information on my Credit Report.

AES, USA FUNDS, BELK, MACYS, TJX, FINGERHUT, WAL-MART, CREDIT ONE.

And by the way send my entire file back to me and take the SSN out of your DATA BASE and
return the entire file to me the owner, maker, Secured Party Creditor. Because you do not know
what to do with them at all. If it is not taken down and my information is not deleted we will be
in Court, so do not tarry. Send my information back to me. And do not report anything else for
me. I did not ask you to. So send it back as soon as possible.

Regards
Consumer Denise L. Brooks
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this date this document was served upon the following
parties by depositing a copy enclosed in a postpaid, properly addressed in a post office or official
depository under the exclusive care and custody of the United Postal service or via the
appropriate electronic servicer.

TRANSUNION
P.O. BOX 2000
CHESTER, PA 19016
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10-19-2016
EXPERIAN

P.O. BOX 9530
ALLEN, TX 75013

RE: Inaccurate Incomplete Derogatory Reporting Information

My name is Denise L. Brooks (a Consumer) Pursuant to the Fair Debt Collection Practices Act
FDCPA15USC§1692a(3) and am asking how you obtain Loan Level Documentation in order to
slander my natural person.

I am aware of what an Account is Pursuant to the UCC 4-104 means deposit or credit
account with a bank, including a demand, time, savings, passbook, share draft, or like
account, other than an account evidenced by a certificate of deposit.

Why do you continue to put derogatory information on my credit report without my
permission. I do not have validated, and verified loan level documentation, and you insist
on putting this information on my credit report. | did not give you permission pursuant to

The Fair Debt Collection Practices Act FDCPA15USC§1692c, I do not have verified, loan level
documentation pursuant to FDCPA15USC§1692g(a)(b). You do not have permission from a
Court of Competent Jurisdiction which would be the United States District Court pursuant to the
Fair Debt Collection Practices Act FDCPA15USC§1692k. I do not have any outstanding Student
Loans which were taken off and you continue to put them back on my Credit Report. I do not
know who this CORPORATION is and if it is not taken off in 3 days I will see you in Court.
You continue to just act like I do not exist and for personal family and household purposes, you
know I am not in COMMERCE, BUSINESS, OR TRADE. You are and you do not have the
Authority to put this information on my Credit Report.

AES, USA FUNDS, BELK, MACYS, TJX, FINGERHUT, WAL-MART, CREDIT ONE.

And by the way send my entire file back to me and take the SSN out of your DATA BASE and

return the entire file to me the owner, maker, Secured Party Creditor. Because you do not know

what to do with them at all. If it is not taken down and my information is not deleted we will be
in Court, so do not tarry. Send my information back to me. And do not report anything else for

me. I did not ask you to. So send it back as soon as possible.

Regards
Consumer Denise L. Brooks
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this date this document was served upon the following
parties by depositing a copy enclosed in a postpaid, properly addressed in a post office or official
depository under the exclusive care and custody of the United Postal service or via the

appropriate clectronic servicer.

Experian
P.O. Box 9530
Allen, TX 75013
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07-18-2016
EQUIFAX

P.O. Box 105518
Atlanta, GA 30348

RE: Inaccurate Incomplete Derogatory Reporting Information

My name is Denise L. Brooks (a Consumer) Pursuant to the Fair Debt Collection Practices Act
FDCPA15USC§1692a(3) and am asking how you obtain Loan Level Documentation in order to
slander my natural person. You have new rules as of June 15, 2016 and J am requesting that you
send information on how this is reported. On more than one occasion I have asked for deletion of

very derogatory information and your CORPORATION always sends letters stating frivolous
this is your account.

I am aware of what an Account is Pursuant to the UCC 4-104 means deposit or credit
account with a bank, including a demand, time, savings, passbook, share draft, or like
account, other than an account evidenced by a certificate of deposit.

Items on my Credit Report are inaccurate and incomplete you will take an item off and the very
same day you will put them back on the report (derogatory incomplete, inaccurate information).
I do need to know how this information is obtained and reported by your CORPORATION

erroneously how can there be a determination of how this inaccurate erroneous information is
mine.

You have been in business for quite some time and it seems as if you get paid to report
derogatory information on Consumers which has to stop and I will seek very drastic measures to
obtain a solution. If you receive notice that an account is unverifiable, there it is again it must
promptly delete that item of information from the file of the Consumer Pursuant to the Fair
Credit Report Act (FCRA) 1SUSC§ 1681 i(a)(5)(A)(i).

It seems to me that EQUIFAX, EXPERIAN, AND TRANS UNION has on more than one
occasion used this Consumer Report to resell or disclose derogatory information so the entire
World can see and this is a violation of what your duties are but Oh I forgot you are getting paid.
The only thing that I have noticed in these reports respectively is that you are reporting
inaccurate, incomplete information before you investigate and are too lazy to report that the
information can be verified. It is your duty to care to do so. This adversity has to stop, and you
need to be aware of these issues most of this foolishness is for Personal, Family, or Household
use and you are Complicit with your knowledge of what is going on and you choose to ignore the
defamatory consequences of your actions.

So how can I as a Consumer determine if this information is given by a Creditor ora DATA
BUYER Mentally II] individual Person. I am in receipt of a previous Credit Report where there
was a deletion of an item and then you placed it back into the file please remove it. | am in
receipt of correspondence from CREDIT ONE BANK, please delete this item as well from all
three Reports Equifax, Experian, and Trans Union. Similarly, when a CRA receives notice that
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an account is unverifiable, it must “promptly delete that item of information from the file of the
consumer.” See id. § 1681i(a)(5)(A)(i). Lest this result appear too strict, we hasten to observe
that even though a furnisher that ends an investigation without verifying a disputed account must
cease reporting the account to CRAs, § 1681s-2(b) does not require the furnisher to cease
dunning or otherwise attempting to collect the debt. The requirement to delete or

Regards
Consumer Denise L. Brooks
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this date this document was served upon the following
parties by depositing a copy enclosed in a postpaid, properly addressed in a post office or official
depository under the exclusive care and custody of the United Postal service or via the
appropriate electronic servicer.

EQUIFAX
P.O. Box 105518
Atlanta, GA 30348
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DENISE L BROOKS DENISE LAQUA BROOKS

UNITED STUDENT AID FUNDS has flagged your account as Collection account.

Alert Type: Potentially Negative
Found On: Oct 15, 2016

New information has appeared on your credit report. Please review the details of the alert for
information that may indicate identity theft.

Additional Info

Please review the alert. If you feel you are a victim of identity theft, follow the steps below to
ensure your personal information is secure.

Alert Date

10/15/2016

Source

TRANSUNION

Company

UNITED STUDENT AID FUNDS
Payment Status

Collection account

Status Date

1/1/0001

Balance

$0.00

Balance Date

1/1/0001

Address

POB 9460 MC E2142 C/O SALLIE MAE WILKES BARRE , PA 18773-

AES has flagged your account as Collection account.

Alert Type: Potentially Negative
Found On: Oct 12, 2016

New information has appeared on your credit report. Please review the details of the alert for
information that may indicate identity theft.
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Additional Info

Please review the alert. [f you feel you are a victim of identity theft, follow the steps below to
ensure your personal information is secure.

Alert Date
10/12/2016
Source
TRANSUNION
Company

AES

Payment Status
Colleetion account
Status Date
1/1/0001

Balance

$0.00

Balance Date
1/1/0001

Address

POB 61017 HARRISBURG. PA 17106-

PENNSYLVANIA HIGHER EDUCAT reported a new account on your EQUIFAX Credit
Report.

Alert Type: New Account
Found On: Sep 20, 2016

New information has appeared on your credit report. Please review the details of the alert for
information that may indicate identity theft.

Additional Info

Please review the alert. If you feel you are a victim of identity theft, follow the steps below to
ensure your personal information is secure.

Alert Date

9/20/2016

Source

EQUIFAX

Company

PENNSYLVANIA HIGHER EDUCAT
Opened Date
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1/1/0001

Balance

$8,040.00

Balance Date

10/1/2014

Phone

(800) 233-0751

Address

PO Box 8147Harrisburg, PA 17105-8147

AES reported a new account on your TRANSUNION Credit Report.

Alert Type: New Account
Found On: Sep 15, 2016

New information has appeared on your credit report. Please review the details of the alert for
information that may indicate identity theft.

Additional Info

Please review the alert. If you feel you are a victim of identity theft, follow the steps below to
ensure your personal information is secure.

Alert Date
9/15/2016
Source
TRANSUNION
Company

AES

Opened Date
1/1/0001
Balance
$8,040.00
Balance Date
1/1/0001
Address

POB 61017 HARRISBURG , PA 17106-

USA FUNDS reported a new account on your EQUIFAX Credit Report.

Alert Type: New Account
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Found On: Sep 6, 2016

New information has appeared on your credit report. Please review the details of the alert for
information that may indicate identity theft.

Additional Info

Please review the alert. If you feel you are a victim of identity theft, follow the steps below to
ensure your personal information is secure.

Alert Date
9/6/2016
Source
EQUIFAX
Company

USA FUNDS
Opened Date
1/1/0001
Balance
$24,721.00
Balance Date
4/1/2015

Phone

(800) 331-2314
Address

PO Box 9460Wilkes Barre, PA 18773-9460
